UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JANE DOE,

                                 Plaintiff,
                                                                   22-CV-7683 (LTS)
                     -against-
                                                                ORDER OF DISMISSAL
RELATED COMPANIES, LLP, et al.,

                             Defendants.

LAURA TAYLOR SWAIN, Chief United States District Judge:

         By order dated September 19, 2022, the Court directed Plaintiff to file an amended

complaint within sixty days. That order specified that failure to comply would result in dismissal

of the complaint. Plaintiff has not filed an amended complaint, and the time to do so has

expired. 1 Accordingly, the complaint is dismissed for Plaintiff’s failure to comply with the

Court’s order, without prejudice to Plaintiff’s refiling it.

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would

not be taken in good faith, and therefore IFP status is denied for the purpose of an appeal. Cf.

Coppedge v. United States, 369 U.S. 438, 444-45 (1962) (holding that an appellant demonstrates

good faith when he seeks review of a nonfrivolous issue). The Clerk of Court is directed to enter

judgment in this matter.

SO ORDERED.

Dated:     December 2, 2022
           New York, New York

                                                         /s/ Laura Taylor Swain
                                                               LAURA TAYLOR SWAIN
                                                           Chief United States District Judge


1
 Plaintiff objected to the Court’s denial of the application to proceed anonymously but did not
lodge an amended complaint with the Court, either under a pseudonym or with Plaintiff’s true
name.
